

Cordell-Reeh v Fuks (2023 NY Slip Op 51021(U))



[*1]


Cordell-Reeh v Fuks


2023 NY Slip Op 51021(U)


Decided on September 28, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on September 28, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, James, JJ.



570799/23

Danica A. Cordell-Reeh, Plaintiff-Appellant, 
againstMali Fuks, Defendant-Respondent.




Plaintiff appeals from a judgment of Small Claims Part of the Civil Court of the City of New York, New York County (Kim M. Parker, J.), entered June 29, 2022, after trial, in favor of defendant dismissing the action.




Per Curiam.
Judgment (Kim M. Parker, J.), entered June 29, 2022, affirmed, without costs.
A judgment rendered in the Small Claims Part of the Civil Court will be sustained on appeal unless it is shown that "substantial justice" has not been done between the parties according to the rules and principles of substantive law (CCA 1807). Applying this narrow standard of review, and giving due deference to the trial court's express findings of fact and its negative assessment of plaintiff's credibility (see Williams v Roper, 269 AD2d 125 [2000], lv dismissed 95 NY2d 898 [2000]), we find no basis to disturb the judgment of the trial court dismissing plaintiff's breach of contract action. The evidence, fairly interpreted, supports the finding that plaintiff failed to establish that she is entitled to compensation from defendant for real estate research services allegedly performed after August 2014.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: September 28, 2023









